                           UNITED STATES DISTRICT COURT FOR
                           THE SOUTHERN DISTRICT OF NEW YORK


   JACOB GRAY,                                          )
                                                        )
                            Plaintiff,                  )   Case No.
                                                        )
             v.                                         )   JURY TRIAL DEMANDED
                                                        )
   WESCO AIRCRAFT HOLDINGS, INC.,                       )
   RANDY J. SNYDER, TODD RENEHAN,                       )
   DAYNE A. BAIRD, THOMAS M. BANCROFT                   )
   III, PAUL E. FULCHINO, JAY L.                        )
   HABERLAND, SCOTT E. KUECHLE, ADAM                    )
   J. PALMER, ROBERT D. PAULSON,                        )
   JENNIFER M. POLLINO, and NORTON A.                   )
   SCHWARTZ,                                            )

                            Defendants.

    COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

            Plaintiff, Jacob Gray, by his undersigned attorneys, for this complaint against defendants,

  alleges upon personal knowledge with respect to himself, and upon information and belief based

  upon, inter alia, the investigation of counsel, as to all other allegations herein, as follows:

                                         NATURE OF THE ACTION

       1.         This is an action brought by Plaintiff against Wesco Aircraft Holdings, Inc. (“Wesco”

or the “Company”) and the members of the Company’s board of directors (collectively referred to as

the “Board” or the “Individual Defendants” and, together with Wesco, the “Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”), 15

U.S.C. §§ 78n(a), 78t(a) respectively, and United States Securities and Exchange Commission

(“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9. Plaintiff’s claims arise in connection with the proposed

acquisition of Wesco by Wolverine Intermediate Holding II Corporation (“Parent”), Wolverine

Merger Corporation, a direct wholly owned subsidiary of Parent (“Merger Sub”) (collectively

“Wolverine”) (the “Proposed Transaction”). Parent and Merger Sub are indirect subsidiaries of funds

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managed and advised by Platinum Equity Advisors, LLC, a U.S.-based private equity firm

(“Platinum”).

       2.       On August 8, 2019, Wesco entered into an agreement and plan of merger (the “Merger

Agreement”), pursuant to which Parent will acquire Wesco, with Merger Sub merging with and into

Wesco, and Wesco surviving as a wholly owned subsidiary of Parent (the “Merger”).

       3.       Upon completion of the merger, Wesco shareholders will receive $11.05 in cash for

each share of Wesco common stock held (“Merger Consideration”).

       4.       On August 29, 2019, in order to convince Wesco public common shareholders to vote

in favor of the Proposed Transaction, the Defendants authorized the filing of a materially incomplete

and misleading Preliminary Proxy Statement (the “Proxy”) with the SEC, in violation of Sections

14(a) and 20(a) of the Exchange Act.

       5.       In particular, the Proxy contains materially incomplete and misleading information

concerning: (i) the sales process leading up to the Proposed Transaction; (ii) the valuation analyses

performed by Wesco’s financial advisors, Morgan Stanley & Co. LLC (“Morgan Stanley”) and J.P.

Morgan Securities LLC (“J.P. Morgan”) regarding the Proposed Transaction; and (iii) the nature of

the work Morgan Stanley provided Platinum and its affiliates in the two years prior to the date of its

fairness opinion for Wesco.

       6.       The special meeting of Wesco’s stockholders to vote on the Proposed Transaction will

be scheduled soon (the “Shareholder Vote”) and the Proposed Transaction is set to close at the end of

this calendar year. Therefore, it is imperative that the material information that has been omitted from

the Proxy is disclosed prior to the Shareholder Vote, so Wesco’s stockholders can properly exercise

their corporate voting rights.

       7.       For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9. Plaintiff


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seeks to enjoin Defendants from taking any steps to consummate the Proposed Transaction unless and

until the material information discussed below is disclosed to Wesco’s public common shareholders

sufficiently in advance of the upcoming shareholder vote or, in the event the Proposed Transaction is

consummated, to recover damages resulting from the Defendants’ violations of the Exchange Act.

                                   JURISDICTION AND VENUE

        8.        This Court has jurisdiction over all claims asserted herein pursuant to Section 27 of

the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934 Act

and Rule 14a-9.

        9.        Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either present

in this District for jurisdictional purposes or has sufficient minimum contacts with this District as to

render the exercise of jurisdiction over each Defendant by this Court permissible under the traditional

notions of fair play and substantial justice. “Where a federal statute such as Section 27 of the

[Exchange] Act confers nationwide service of process, the question becomes whether the party has

sufficient contacts with the United States, not any particular state.” Sec. Inv’r Prot. Corp. v. Vigman,

764 F.2d 1309, 1315 (9th Cir. 1985). “[S]o long as a defendant has minimum contacts with the

United States, Section 27 of the Act confers personal jurisdiction over the defendant in any federal

district court.” Id. at 1316.

        10.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as 28 U.S.C. § 1391, because Defendants are found or are inhabitants or transact

business in this District. Indeed, Wesco’s common stock trades on the New York Stock Exchange

(“NYSE”), which is headquartered in this District. See, e.g., United States v. Svoboda, 347 F.3d

471, 484 n.13 (2d Cir. 2003) (collecting cases). Further, Wesco’s proxy solicitor, Mackenzie

Partners, Inc. is located in this District at 1407 Broadway, New York, NY 10018. Additionally,


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Wesco held “fireside chats” with nine potentially interested parties and also held management

presentations at the offices of Morgan Stanley located in this District at 1585 Broadway, New York,

NY 10036.

                                              PARTIES

         11.   Plaintiff is, and has been continuously throughout all times relevant hereto, the owner

of Wesco common stock.

         12.   Defendant Wesco is a public company incorporated under the laws of Delaware with

principal executive offices located at 24911 Avenue Stanford, Valencia, CA 91355. Wesco’s

common stock is traded on the NYSE under the ticker symbol “WAIR.”

         13.   Defendant Randy J. Snyder is, and has been at all relevant times, a director of the

Company and Chairman of the Board.

         14.   Defendant Todd Renehan is, and has been at all relevant times, a director of the

Company and its Chief Executive Officer.

         15.   Defendant Dayne A. Baird is, and has been at all relevant times, a director of the

Company.

         16.   Defendant Thomas M. Bancroft III is, and has been at all relevant times, a director of

the Company.

         17.   Defendant Paul E. Fulchino is, and has been at all relevant times, a director of the

Company.

         18.   Defendant Jay L. Haberland is, and has been at all relevant times, a director of the

Company.

         19.   Defendant Scott E. Kuechle is, and has been at all relevant times, a director of the

Company.

         20.   Defendant Adam J. Palmer is, and has been at all relevant times, a director of the


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Company.

         21.   Defendant Robert D. Paulson is, and has been at all relevant times, a director of the

Company.

         22.   Defendant Jennifer M. Pollino is, and has been at all relevant times, a director of the

Company.

         23.   Defendant Norton A. Schwartz is, and has been at all relevant times, a director of the

Company.

         24.   The defendants identified in paragraphs 13 through 23 are collectively referred to

herein as the “Board” or the “Individual Defendants,” and together with Wesco, the “Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

      25.      Wesco is a distributor and provider of supply chain management services to the global

aerospace industry.     The Company’s products include Hardware, Chemicals, Electronic

Components, Bearings and Other Products, while its services include Quality Assurance, Kitting and

JIT Supply Chain Management. Wesco caters to commercial, military and general aviation sectors,

including the original equipment manufacturers (OEMs) and their subcontractors, through which it

supports various Western aircraft programs, and also sells products to airline-affiliated and

independent maintenance, repair and overhaul (MRO) providers.

      26.      On August 8, 2019, the Board caused the Company to enter into the Merger

Agreement with Wolverine.

      27.      Pursuant to the terms of the Merger Agreement, each share of Wesco common stock

will be converted into the right to receive $11.05 in cash per share of Wesco common stock held.

      28.      According to the August 9, 2019, press release announcing the Proposed Transaction:

                        Wesco Aircraft Enters into Definitive Merger
                   Agreement to be Acquired by Affiliate of Platinum Equity

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VALENCIA Calif., August 9, 2019 — Wesco Aircraft Holdings Inc.
(NYSE: WAIR), one of the world’s leading distributors and providers of
comprehensive supply chain management services to the global aerospace
industry, today announced that it has entered into a definitive merger
agreement to be acquired by an affiliate of Platinum Equity in a transaction
valued at approximately $1.9 billion.

Upon closing, Wesco will be combined with Platinum Equity portfolio
company Pattonair, a provider of supply chain management services for the
aerospace and defense industries based in the United Kingdom.

Under the agreement, which has been unanimously approved by Wesco’s
Board of Directors, Wesco shareholders would receive $11.05 per share in
cash. The cash purchase price represents a premium of approximately 27.5
percent to the 90-day volume weighted average share price for the period
ended May 24, 2019, the last trading day prior to media speculation
regarding a potential transaction involving Wesco Aircraft.

Wesco’s three largest shareholders, affiliates of The Carlyle Group and
Makaira Partners, as well as the Snyder Family Trusts, support the
transaction and have entered into voting and support agreements to vote
their shares in favor of the transaction.

“We are excited about the opportunities a combination with Pattonair will
provide Wesco. This is the right transaction for our shareholders, customers
and employees,” said Todd Renehan, Chief Executive Officer of Wesco
Aircraft. “This transaction is a strong validation of our customer value
proposition, and it will allow us to find new and innovative ways to bring
more value to customers, enhance relationships with suppliers and create
additional opportunities for employees.”

Wayne Hollinshead, Pattonair CEO, said, “This is great news for our
company and our customers and will create new avenues for growth and
expansion. Wesco is an outstanding business with an impressive track
record for innovation and customer service. We are excited about the
prospects of working together.”

Louis Samson, Platinum Equity Partner, said, “Wesco’s broad customer
base and industry-leading capabilities have positioned it well to benefit
from long-term trends in the aerospace and defense industry. Bringing
Wesco and Pattonair together will create a truly global enterprise, benefiting
the combined customer base through increased scale and access to new
technologies.”

Transaction Details
The transaction will be financed through a combination of committed equity
financing provided by affiliates of Platinum Equity Capital Partners IV,

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               L.P., as well as debt financing that has been committed to by Bank of
               America Merrill Lynch.

               The transaction is expected to be completed by the end of calendar 2019
               and is subject to Wesco shareholder approval, regulatory clearances and
               other customary closing conditions.

               Upon the completion of the transaction, Wesco will become a privately held
               company, and shares of its common stock no longer will be listed on any
               public market.

               Advisors
               Morgan Stanley & Co. LLC and J.P. Morgan Securities LLC are serving as
               financial advisors to Wesco, and Latham & Watkins LLP is providing legal
               counsel to Wesco. Hughes Hubbard & Reed LLP is providing M&A legal
               counsel to Pattonair, and Willkie Farr & Gallagher LLP is providing
               financing legal counsel to Pattonair.

The Proxy Omits Material Information

       29.       On August 29, 2019, Defendants filed a materially incomplete and misleading

Proxy with the SEC. The special meeting of Wesco stockholders to vote on the Proposed Transaction

is forthcoming. The Individual Defendants were obligated to carefully review the Proxy before it

was filed with the SEC and disseminated to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions. However, the Proxy misrepresents or omits

material information that is necessary for the Company’s shareholders to make an informed voting

decision in connection with the Proposed Transaction.

       30.       In particular, the Proxy omits material information regarding: (i) the sales process

leading up to the Proposed Transaction; (ii) Morgan Stanley and J.P. Morgan’s financial analyses

regarding the Proposed Transaction; and (iii) the nature of the work Morgan Stanley provided

Platinum and its affiliates in the two years prior to rendering its fairness opinion for Wesco.

       31.       First, the Proxy states that Wesco entered into confidentiality agreements

containing customary standstill provisions with 14 potentially interested parties. Proxy at 41.

However, the Proxy fails to disclose whether such standstill provisions contained a “don’t ask don’t


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waive” (“DADW”) provision, including whether those provisions had fallen away upon the

execution of the Merger Agreement or still remain in effect. Failure to disclose the existence of

DADW provisions creates the false impression that an interested party who signed a confidentiality

agreement could have made a superior proposal. But that is not true. If those confidentiality

agreements contained DADW provisions, the interested potential acquirers could only make a

superior proposal by breaching their respective agreement because in order to make the superior

proposal, they would have to ask for a waiver, either directly or indirectly. Thus, the omission of

this information renders the references to the confidentiality agreements in the Proxy materially

incomplete; and therefore, misleading as any reasonable shareholder would deem the fact that the

most likely potential topping bidders in the marketplace may be precluded from making a superior

offer to significantly alter the total mix of information.

       32.     Second, the Proxy contains materially incomplete and misleading information

concerning the valuation analyses performed by Wesco’s financial advisors, Morgan Stanley and J.P.

Morgan regarding the Proposed Transaction.

       33.     With respect to J.P. Morgan’s Discounted Cash Flow Analysis, the Proxy omits the

terminal values of the Company. In addition, the Proxy fails to disclose the inputs and assumptions

underlying the perpetual growth rate of 1.0% to 2.0%. Id. at 69.

       34.     With respect to Morgan Stanley’s Discounted Cash Flow Analysis, the Proxy is

materially misleading and incomplete because it fails to disclose the inputs and assumptions

underlying the selection of the perpetual growth rate of 1.5%. Id. at 59. Further, the Proxy fails to

disclose the number of outstanding shares of Wesco common stock on a fully diluted basis as of July

27, 2019, and the terminal values for the Company. Id.

       35.     These key inputs are material to Wesco shareholders, and their omission renders the

summary of Morgan Stanley and J.P. Morgan’s Discounted Cash Flow Analysis incomplete and


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misleading. As one highly-respected law professor explained regarding these crucial inputs, in a

discounted cash flow analysis a banker takes management’s forecasts, and then makes several key

choices “each of which can significantly affect the final valuation.” Steven M. Davidoff, Fairness

Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such choices include “the appropriate discount rate,

and the terminal value…” Id. As Professor Davidoff explains:

               There is substantial leeway to determine each of these, and any change can
               markedly affect the discounted cash flow value. For example, a change in
               the discount rate by one percent on a stream of cash flows in the billions of
               dollars can change the discounted cash flow value by tens if not hundreds
               of millions of dollars….This issue arises not only with a discounted cash
               flow analysis, but with each of the other valuation techniques. This dazzling
               variability makes it difficult to rely, compare, or analyze the valuations
               underlying a fairness opinion unless full disclosure is made of the various
               inputs in the valuation process, the weight assigned for each, and the
               rationale underlying these choices. The substantial discretion and lack of
               guidelines and standards also makes the process vulnerable to manipulation
               to arrive at the “right” answer for fairness. This raises a further dilemma in
               light of the conflicted nature of the investment banks who often provide
               these opinions.

        Id. at 1577-78 (emphasis added).        Without the above-mentioned information, Wesco’s

shareholders cannot evaluate for themselves the reliability of Morgan Stanley and J.P. Morgan’s

Discounted Cash Flow Analysis, make a meaningful determination of whether the implied equity

value ranges reflect the true value of the Company or was the result of an unreasonable judgment by

Morgan Stanley and J.P. Morgan, and make an informed decision regarding whether to vote in favor

of the Proposed Transaction.

         36.   With respect to Morgan Stanley’s Equity Research Analysts’ Price Targets analysis,

the Proxy fails to disclose the one-year forward price targets for Wesco prepared and published by

equity research analysts. Proxy at 62.

         37.   Third, in its fairness opinion, Morgan Stanley fails to disclose the nature of the work

it provided Platinum and its affiliates in the two years prior to rendering its fairness opinion for Wesco.

Id. at 64.

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          38.   Defendants’ failure to provide the foregoing material information renders the

statements in the Proxy false and/or materially misleading.

          39.   In sum, the omission of the above-referenced information renders the Proxy materially

incomplete and misleading, in contravention of the Exchange Act. Absent disclosure of the foregoing

material information prior to the upcoming shareholder vote concerning the Proposed Transaction,

Plaintiff will be unable to make an informed decision regarding whether to vote their shares in favor

of the Proposed Transaction, and they are thus threatened with irreparable harm, warranting the

injunctive relief sought herein.

                                        CAUSES OF ACTION

                                               COUNT I

 (Against All Defendants for Violations of Section 14(a) of the Exchange Act and Rule 14a-9)

          40.     Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          41.     Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the use

of the mails or by any means or instrumentality of interstate commerce or of any facility of a national

securities exchange or otherwise, in contravention of such rules and regulations as the Commission

may prescribe as necessary or appropriate in the public interest or for the protection of investors, to

solicit or to permit the use of his name to solicit any proxy or consent or authorization in respect of

any security (other than an exempted security) registered pursuant to section 78l of this title.” 15

U.S.C. § 78n(a)(1).

          42.     Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications shall not contain “any statement which, at the time and in

the light of the circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the statements


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therein not false or misleading.” 17 C.F.R. § 240.14a-9.

         43.     The omission of information from a proxy will violate Section 14(a) and Rule 14a-

9 if other SEC regulations specifically require disclosure of the omitted information.

         44.     Defendants have issued the Proxy with the intention of soliciting the Company’s

common shareholders’ support for the Proposed Transaction. Each of the Individual Defendants

reviewed and authorized the dissemination of the Proxy, which fails to provide critical information

regarding, amongst other things: (i) the sales process leading up to the Proposed Transaction; (ii) the

valuation analyses performed by Wesco’s financial advisors, Morgan Stanley and J.P. Morgan

regarding the Proposed Transaction; and (iii) the nature of the work Morgan Stanley provided

Platinum and its affiliates in the two years prior to rendering its fairness opinion for Wesco.

         45.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants, by

virtue of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Individual Defendants were therefore

negligent, as they had reasonable grounds to believe material facts existed that were misstated or

omitted from the Proxy, but nonetheless failed to obtain and disclose such information to the

Company’s shareholders although they could have done so without extraordinary effort.

         46.     The Individual Defendants knew or were negligent in not knowing that the Proxy

is materially misleading and omits material facts that are necessary to render it not misleading. The

Individual Defendants undoubtedly reviewed and relied upon most if not all of the omitted

information identified above in connection with their decision to approve and recommend the

Proposed Transaction; indeed, the Proxy states that Morgan Stanley and J.P. Morgan reviewed and

discussed their financial analyses with the Board, and further states that the Board considered the

financial analyses provided by both Morgan Stanley and J.P. Morgan, as well as the fairness opinions


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and the assumptions made and matters considered in connection therewith. Further, the Individual

Defendants were privy to and had knowledge of the projections for the Company and the details

surrounding the process leading up to the signing of the Merger Agreement. The Individual

Defendants knew or were negligent in not knowing that the material information identified above

has been omitted from the Proxy, rendering the sections of the Proxy identified above to be materially

incomplete and misleading. Indeed, the Individual Defendants were required to, separately, review

Morgan Stanley and J.P. Morgan’s analyses in connection with their receipt of the fairness opinions,

question Morgan Stanley and J.P. Morgan as to their derivation of fairness, and be particularly

attentive to the procedures followed in preparing the Proxy and review it carefully before it was

disseminated, to corroborate that there are no material misstatements or omissions.

         47.     The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Proxy. The preparation of a proxy statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Individual Defendants were negligent in choosing to omit material information from the Proxy or

failing to notice the material omissions in the Proxy upon reviewing it, which they were required to

do carefully as the Company’s directors. Indeed, the Individual Defendants were intricately involved

in the process leading up to the signing of the Merger Agreement and preparation and review of the

Company’s financial projections.

         48.     Wesco is also deemed negligent as a result of the Individual Defendants’ negligence

in preparing and reviewing the Proxy.

         49.     The misrepresentations and omissions in the Proxy are material to Plaintiff, who

will be deprived of their right to cast an informed vote if such misrepresentations and omissions are

not corrected prior to the Shareholder Vote. Plaintiff has no adequate remedy at law. Only through

the exercise of this Court’s equitable powers can Plaintiff be fully protected from the immediate and


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irreparable injury that Defendants’ actions threaten to inflict.

                                               COUNT II

                 (Against the Individual Defendants for Violations of Section 20(a) of the
                                             Exchange Act)

          50.     Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          51.   The Individual Defendants acted as controlling persons of Wesco within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as officers and/or

directors of Wesco, and participation in and/or awareness of the Company’s operations and/or

intimate knowledge of the incomplete and misleading statements contained in the Proxy filed with

the SEC, they had the power to influence and control and did influence and control, directly or

indirectly, the decision making of the Company, including the content and dissemination of the

various statements that Plaintiff contends are materially incomplete and misleading.

          52.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or shortly

after these statements were issued and had the ability to prevent the issuance of the statements or

cause the statements to be corrected.

          53.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same.             The Proxy contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were thus directly involved in preparing this document.

          54.   In addition, as the Proxy sets forth at length, and as described herein, the Individual

Defendants were involved in negotiating, reviewing, and approving the Merger Agreement. The

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Proxy purports to describe the various issues and information that the Individual Defendants

reviewed and considered. The Individual Defendants participated in drafting and/or gave their input

on the content of those descriptions.

          55.   By virtue of the foregoing, the Individual Defendants have violated Section 20(a) of

the Exchange Act.

          56.   As set forth above, the Individual Defendants had the ability to exercise control over

and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by their

acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

          57.   Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment and relief as follows:

         A.     Preliminarily enjoining Defendants and all persons acting in concert with them from

proceeding with the Shareholder Vote or consummating the Proposed Transaction, unless and until

the Company discloses the material information discussed above which has been omitted from the

Proxy;

         B.     Directing the Defendants to account to Plaintiff for all damages sustained as a result

of their wrongdoing;

         C.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

         D.     Granting such other and further relief as this Court may deem just and proper.


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                                         JURY DEMAND

     Plaintiff demands a trial by jury on all issues so triable.




Dated: September 13, 2019                           MONTEVERDE & ASSOCIATES PC
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